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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                             )        Chapter 11
                                                   )        Case No. 01-01139 (JKF)
W.R. GRACE & CO., et al.,                          )        (Jointly Administered)
                                                   )
                         Debtors.                  )

         DRAFT ORDER OF WITNESSES AND ESTIMATED TIME OF DIRECT
             EXAMINATION OF MARYLAND CASUALTY COMPANY

         In accordance with paragraph 3 of the Fourth Amended Case Management Order Related

to the First Amended Joint Plan of Reorganization [D.I. 22819] dated August 17, 2009,

Maryland Casualty Company (“MCC”), by and through its undersigned counsel, hereby submits

the following proposed order of its witnesses and respective estimates of time of direct

examination for the Phase II Confirmation Hearing:

Order of        Witness                                                            Estimated Time of
Witnesses1                                                                         Direct Examination2
1.              Peter Lockwood (via designated deposition transcript)              15 minutes
2.              Jeffrey Posner (via designated deposition transcript)              15 minutes
3.              Al McComas and/or a records custodian of MCC (live                 60 minutes
                or via declaration)
4.              Any witness(es) designated and/or called by any other      Unknown
                party
5.              Any witness(es) necessary in rebuttal to any evidence      Unknown
                or argument made at or before the Confirmation
                Hearing that is or may be contrary to the interests of
                MCC
6.              Any witness(es) necessary in rebuttal to any evidence or Unknown
                argument made at or before the Confirmation Hearing
                relating to Libby issues that is or may be contrary to the
                interests of MCC.




1
   MCC reserves the right to change the order of the witnesses based on subsequent developments prior to and
during the Phase II Confirmation Hearing.
2
  MCC reserves the right to exceed the estimated time of direct examination of the witnesses based on subsequent
developments prior to and during the Phase II Confirmation Hearing.
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        In accordance with the Supplemental Pre-Trial Submission Of Maryland Casualty

Company [D.I. 22770], this Draft Order of Witnesses and Estimated Time of Direct Examination

is submitted without prejudice to the designation or presentation of any and all additional

witnesses that MCC may deem necessary.



Dated: August 20, 2009             CONNOLLY BOVE LODGE & HUTZ LLP

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